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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

BREE McCLESKEY                                  )   NO. 1:20-CV-00166-RP

V.                                              )

TOLTECA ENTERPRISES INC.,              )
DBA PHOENIX RECOVERY GROUP
______________________________________ )

                UNOPPOSED MOTION TO RESET STATUS CONFERENCE

        Counsel for Tolteca Enterprises has a conflict with having a status conference on August

24, 2020. Counsel has a deposition scheduled for 10 AM that date. The deposition has been

set for August 24, 2020 for several weeks.

        As a result, counsel moves to reset the status conference via zoom to August 25, 2020

after 10:30 AM because on that date counsel already has a zoom hearing set for 8:30 AM.

        That hearing should be quick depending on other cases set for hearing on August 25,

2020.

        Counsel believes after 10:30 should work.

        Counsel has conferred with opposing counsel who does not oppose the reset.

                                                    S/TOM CLARKE
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                                                    tclarkeatty7@aol.com

                                                    Attorney for Defendant
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                                CERTIFICATE OF SERVICE

        I certify that the foregoing document has been e-filed on August 18, 2020, with the
court’s CM/ECF electronic filing system which will give electronic notice to all counsel of
record.

                                                    S/TOM CLARKE
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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
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BREE McCLESKEY                                 )   NO. 1:20-CV-00166-RP

V.                                             )

TOLTECA ENTERPRISES INC.,              )
DBA PHOENIX RECOVERY GROUP
______________________________________ )

                       ORDER RESETTING STATUS CONFERENCE

       IT IS ORDERED that the above case is reset for a status conference via zoom

to August 25, 2020 at ________________________o’clock AM. The court will send

counsel an email with the zoom hearing instructions.

       Signed on August ____________, 2020.

                                            __________________________________
                                            Mark Lane, United States Magistrate Judge
